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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                             TYLER DIVISION

JAMES SHANS AND                  §
DANNY MITCHELL                   §
    PLAINTIFFS                   §
V.                               §   CIVIL ACTION NO. ______________
                                 §
TATUM INDEPENDENT                §
SCHOOL DISTRICT,                 §
      DEFENDANT                  §
____________________________________________________________

                     PLAINTIFFS’ ORIGINAL COMPLAINT

         COME NOW, Plaintiffs JAMES SHANS (“Mr. Shans”) and DANNY

MITCHELL (“Mr. Mitchell”) to hereby file their “Plaintiffs’ Original Complaint”

(“Complaint”) and in support thereof Plaintiffs would show this Honorable Court

the following.

                                   PREAMBLE

  EXPERIENCED EDUCATION EMPLOYEES DISCRIMINATED AGAINST
          BECAUSE THEY ARE AFRICAN AMERICAN MEN

         Plaintiffs were educational employees of Defendant Tatum Independent
School District. Notwithstanding Plaintiffs’ good reputation and years of
experience, Defendant pursued a deliberate path of discrimination against
Plaintiffs because of Plaintiffs’ race, age, gender, and in retaliation of Plaintiffs’
expressing their First Amendment Freedom of Speech. Such discrimination
included the refusal to pay earned overtime and other wages paid to non-African
American men employed by Defendant TISD.

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                                    A. NATURE OF SUIT

         1.       Plaintiffs have been the victim of systematic and ongoing

discrimination by Defendant TISD based on Plaintiffs’ ethnicity (as further applied

to their gender, and age) and in retaliation for Plaintiffs’ exercise of Plaintiffs’ rights

under the First Amendment of the United States Constitution, with such

discrimination including but not being limited to the non-payment of overtimes

wages due to each of the Plaintiffs and lower payment structures for non-African-

American men employed by Defendant TISD. Plaintiffs now seek judicial redress in

accordance various statutory remedies available to Plaintiffs.

         2.       Plaintiffs now file this original action for damages pursuant to:

                  (a)   42 U.S.C. §§2000d-2000d-7 et seq being Title VI of the
                        Civil Rights Act of 1964, as amended by the Civil Rights
                        Act of 1991;

                  (b)   29 U.S.C. § 201, 52 Stat. 1060, Fair Labor Standards Act
                        of 1938; and

                  (c)   42 U.S.C. § 1983 with regards to:

                        (i)    Defendant’s violations of the laws of the United
                               States;

                        (ii)   Defendant’s denial (under the color of law) of
                               Plaintiffs’ equal protection, procedural due process
                               violations, and substantive due process rights
                               granted by the Fourteenth Amendment to the U.S.
                               Constitution; and



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                        (iii)    Defendant’s denial (under the color of law) of
                                 Plaintiffs’ freedom of expression and assembly
                                 rights granted by the First Amendment to the U.S.
                                 Constitution.

                                          B. PARTIES

         3.       Plaintiff Mr. Shans is a male individual of African-American heritage

who resides in the State of Texas. Plaintiff Mr. Shans has dedicated his life to the

education of children.

         4.       Plaintiff Mr. Mitchell is a male individual of African-American

heritage who resides in the State of Texas. Plaintiff Mr. Mitchell has also dedicated

his life to the education of children.

         5.       Defendant Tatum Independent School District (“TISD”) is a public

school district formed under the laws of the State of Texas, operates under the

authority of the State of Texas and the United States Department of Education, and

may be served with summons upon its superintendent as follows:

                TATUM INDEPENDENT SCHOOL DISTRICT
         ATTN: JERRY PATRICK RICHARDSON, SUPERINTENDENT
                       SL-59 LAKE CHEROKEE
                        HENDERSON, TEXAS

                                C. JURISDICTION and VENUE

         6.       The original jurisdiction of this Court is in accordance with 28 U. S. C.

§ 1331 as involving a federal question proceeding arising under:




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                  (a)   42 U.S.C. §§2000d-2000d-7 et seq being Title VI of the
                        Civil Rights Act of 1964, as amended by the Civil Rights
                        Act of 1991 (“Title VI”);

                  (b)   29 U.S.C. § 201, 52 Stat. 1060, Fair Labor Standards Act
                        of 1938 (“FLSA”); and

                  (c)   42 U.S.C. § 1983 (“Section 1983”) with regards to:

                        (i)     Defendant’s violations of the laws of the United
                                States;

                        (ii)    Defendant’s denial (under the color of law) of
                                Plaintiffs’ equal protection, procedural due process
                                violations, and substantive due process rights
                                granted by the Fourteenth Amendment to the U.S.
                                Constitution; and

                        (iii)   Defendant’s denial (under the color of law) of
                                Plaintiffs’ freedom of expression and assembly
                                rights granted by the First Amendment to the U.S.
                                Constitution.

         7.       Venue is proper in the Eastern District of Texas (Tyler Division)

because Defendant TISD operates its schools in, and from, Tatum, Texas in Rusk

County, Texas, which is also where the underlying events occurred. Tatum and Rusk

County are within the Eastern District of Texas and further within the Tyler Division.

                                 D. FACTUAL BACKGROUND

                                     WHO ARE PLAINTIFFS

         8.       As referenced, (a) Plaintiff Mr. Shans is a male of American-American

heritage who was employed by Defendant TISD, and (b) Plaintiff Mr. Mitchell is a

male of American-American heritage who was also employed by Defendant TISD.
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         9.       Plaintiffs have been education employees in the State of Texas for many

years. For some of those years, Plaintiffs were each an employee of Defendant TISD.

                                       WHO IS TISD?

         10.      As stated, Defendant TISD is a public school district formed under the

laws of the State of Texas and operates under the authority of the State of Texas and

the United States Department of Education.

         11.      As part of its funding, Defendant TISD receives grants and other funds

from the United States government that are used for the primary objective of

providing for the employment of educators and staff for students in the boundaries

of Defendant TISD, such as Plaintiffs.

         12.      Through the direct use of such funding from the United States, or,

through the general co-mingling of such funds into the revenue stream of Defendant

TISD, Defendant TISD compensated Plaintiffs through the employment agreements.

                  Defendant TISD’s Wrongful Actions towards Plaintiffs.

         13.      During Plaintiffs’ employment by Defendant TISD, each Plaintiff was

not paid overtime wages due each Plaintiff, not paid a wage equal to non-African

American men who were employed by Defendant TISD, were stricken of

employment duties and opportunities, and ultimately chased out of employment with

Defendant TISD.




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         14.      Defendant TISD’s acts against Plaintiffs included the failure to pay, as

referenced, stalking Plaintiffs, targeting Plaintiffs, making sure that Plaintiffs knew

Plaintiffs were not welcomed or valued employees of Defendant TISD.

         15.      Some, but not all of the employees of Defendant TISD who took

specific actions against Plaintiffs include:

                        Superintendent Richardson;

                        Drenon Fite; and

                        Ghary Hightower.

         16.      In discussions with administrators of Tatum ISD, Defendant TISD

acknowledged that Plaintiffs were not being treated fairly, such treatment was

merely the custom and practice of Defendant TISD, and would not change despite

Plaintiffs’ non-judicial efforts to seek redress.

         17.      The true nature of Defendant TISD’s racial discrimination of Plaintiffs

was mere speculation until Defendant TISD recently blackballed Plaintiff Mr.

Shans’ employment opportunities and refused to allow Mr. Shans to complete the

last step of an educational certification Mr. Shans has worked towards for years.

         18.      In light of the recent actions towards Plaintiff Mr. Shans, Plaintiffs

metaphorically compared notes as to how each was treated by Defendant TISD, and

the truth finally became clear.




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                         Defendant TISD’s “Municipal Liability”

         19.      Defendant TISD committed and allowed the commission of, the

misconduct described in this Complaint intentionally, with actual malice, reckless

disregard, and intentional indifference toward Plaintiffs.

         20.      Texas law deems Plaintiffs’ employment agreements with Defendant

TISD to create a property interest that Plaintiffs hold.

         21.      Defendant TISD committed, and allowed the commission, of the

targeted discrimination against Plaintiffs and implemented same under color of law.

The TISD personnel who committed the misconduct complained of did so as agents

and representatives of TISD and were implementing TISD’s policies, practices, and

procedures when they acted against Plaintiffs.

         22.      If Defendant’s TISD’s policies, practices, and procedures were not in

written form, TISD and its agents implemented them in accord with the customs and

practices of TISD’s policy makers.

         23.      Further, as the policy maker for Defendant TISD, the Board of Trustees

of Defendant TISD personally viewed, supported, and ratified the Defendant TISD’s

acts and omissions as to Plaintiffs because said superintendent was implementing

the Board’s own policies, procedures, customs, and actions.




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         24.      Defendant TISD’s personnel who acted against Plaintiffs did so while

performing their assigned TISD duties, as prescribed by TISD’s superintendent

and/or its Board (being the ultimate policymaker of Defendant TISD).

         25.      Defendant TISD’s discriminations towards Plaintiffs represents actions

of complete and deliberate indifference to Plaintiffs, and, made it necessary for

Plaintiffs to retain legal counsel and to file this lawsuit to seek redress such

discrimination.

                                      Harm to Plaintiffs

         26.      Defendant TISD’s discrimination against Plaintiffs has caused each of

the Plaintiffs to suffer physical and economic harm, including without limitation lost

pay. Plaintiffs also suffered extreme emotional harm as a result of the referenced

discriminatory actions of Defendant TISD. Plaintiffs’ harm will continue for the

remainder of Plaintiffs’ years as education employees.

         27.      Plaintiffs have met all conditions precedent to bring these claims before

this Honorable Court.

                                   E. CAUSES OF ACTION

         28.      The foregoing factual allegations contained in the foregoing Section D:

Factual Background are incorporated into this Section E by reference for all

purposes.




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                       COUNT ONE: VIOLATION OF TITLE VI

         29.      Title VI provides in relevant part that: “No person in the United States

shall, on the grounds of race, color, or national origin, be excluded from participation

in, be denied the benefits of, or be subjected to discrimination under any program or

activity receiving Federal financial assistance.”

         30.      Because Defendant TISD (1) does receive federal financial assistance,

the primary objective of which is to provide employment, and (2) applied such

funding to the discriminatory programs, activities, and treatment as described herein,

which were intentionally directed at Plaintiffs because of Plaintiffs’ race, Defendant

TISD has violated Title VI.

         31.      Defendant TISD’s acts and omissions against Plaintiffs in violation

of Title VI have caused Plaintiffs to suffer a loss of benefits and created economic

losses, including all actual, consequential, continuing, and future compensatory

damages, for which Plaintiffs now sue in accord with Title VI.

         32.      Defendant TISD’s acts and omissions against Plaintiffs in violation

of Title VI have caused Plaintiffs to suffer mental and emotional distress and

damages, including all actual, consequential, continuing, and future compensatory

damages, for which Plaintiffs now sue in accord with Title VI.




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                                   COUNT TWO: FLSA

         33.      As set forth, Defendant TISD refused to pay Plaintiffs wages earned,

including overtime, and paid Plaintiffs less than what Defendant TISD paid non-

male African American employees.

         34.      Plaintiffs have suffered actual and consequential damages as a result of

such wage violations by Defendant TISD, for which Plaintiffs now sue for relief.

                  COUNT THREE: VIOLATION OF SECTION 1983

         35.      42 U.S.C. §1983 provides in part:

                  Every person who under color of any statute, ordinance,
                  regulation, custom, or usage, of any State…subjects, or
                  causes to be subjected, a citizen of the United States…to
                  the deprivation of any rights, privileges, or immunities
                  secured by the Constitution and laws, shall be liable to the
                  party injured in an action and law, suit in equity, or other
                  proper procedure for redress….

         36.      Defendant TISD’s acts and omissions in violation of Title VI and the

FLSA also violate Section 1983 because Defendant TISD committed those acts and

omissions under color of law, through designated persons of authority implementing

TISD assigned duties and responsibilities.

         37.      Further, the Fourteenth Amendment to the United States Constitution

grants Plaintiffs the right to procedural and substantive due process and to equal

protection under the law, which were denied to Plaintiffs.




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         38.      Also, the First Amendment to the United States Constitution grants

Plaintiffs the right to express complaints and concerns for their, and others,

employment rights with Defendant TISD both orally and in writing. The First

Amendment also grants Plaintiffs the right to assemble peaceably, which TISD

denied Plaintiffs.

         39.      Defendant TISD’s acts and omissions were intentional, arbitrary, and

capricious, resulting in violation of Plaintiffs’ procedural and substantive due

process and to equal protection rights under the law.

         40.      Defendant TISD’s acts and omissions against Plaintiffs in violation

of Section 1983 have caused Plaintiffs to suffer a loss of benefits and created

economic losses, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiffs now sue in accord with Section 1983.

         41.      Defendant TISD’s acts and omissions against Plaintiffs in violation

of Section 1983 have caused Plaintiffs to suffer mental and emotional distress and

damages, including all actual, consequential, continuing, and future compensatory

damages, for which Plaintiffs now sue in accord with Section 1983.

      COUNT FOUR: EXEMPLARY AND/OR LIQUIDATED DAMAGES

         42.      Various of the statutes that Defendant TISD’s misconduct violated

permit the recovery of exemplary and/or liquidated damages. Defendant TISD’s

misconduct entitles Plaintiffs to recover exemplary and/or liquidated damages from

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TISD in an amount sufficient to punish TISD for its misconduct and to deter similar

misconduct in the future.

                           COUNT FIVE: ATTORNEY’S FEES

         43.      Various of the statutes that Defendant TISD’s misconduct violated

permit the recovery of reasonable and necessary attorney’s fees. Defendant TISD’s

misconduct entitles Plaintiffs to recover from TISD the reasonable and necessary

attorney’s fees incurred as to Plaintiffs filing and prosecuting this action.

                  COUNT FIVE: INTEREST AND COSTS OF COURT

         44.      Various of the statutes that Defendant TISD’s misconduct violated

permit the recovery of prejudgment interest.

         45.      Plaintiffs are entitled to recover from Defendant TISD both

prejudgment interest, where permitted, and post judgment interest, at the highest

rates permitted by law.

         46.      Plaintiffs are further entitled to recover from Defendant TISD

Plaintiffs’ costs of court.

                                        F. JURY TRIAL

         47.      Plaintiffs hereby requests a trial by jury in this lawsuit.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff James Shans and

Danny Mitchell respectfully pray that upon final trial of this matter Plain tiffs recover

a judgment against Defendant TISD for:

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         •   Plaintiffs’ actual and consequential damages;
         •   Exemplary damages in the manner requested above;
         •   Plaintiffs’ reasonable and necessary attorney’s fees;
         •   Prejudgment and post judgment interest, as applicable;
         •   Plaintiffs’ costs of court; and

Any and all such other relief, legal and equitable, as to which Plaintiffs may be justly

entitled.

         Respectfully submitted,

                                          Gorman Law Firm, pllc



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